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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                           )           CASE NO. 22-50495-PWB
                                                 )
HIEP NGOC TRAN,                                  )           CHAPTER 7
aka NGOC-HIEP THI TRAN,                          )
                                                 )
         Debtor.                                 )

              NOTICE OF TRUSTEE’S MOTION FOR AN ORDER AUTORIZING
                THE SALE OF PROPERTY OF THE BANKRUPTCY ESTATE,
                    DEADLINE TO OBJECT, AND FOR HEARING

         PLEASE TAKE NOTICE that on May 20, 2022, S. Gregory Hays, as Chapter 7 Trustee

(“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Hiep Ngoc Tran

(“Debtor”), filed a Motion for an Order authorizing the Sale of Property of the Bankruptcy

Estate [Doc. No. 21] (the “Motion”), and related papers with the Court, seeking an order

authorizing the sale by the Trustee to the Debtor of the Bankruptcy Estate’s non-exempt interest

in a 2019 Nissan Pathfinder worth approximately $16,000.00 for a payment of $16,000.001.

         Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may

consider this matter without further notice or a hearing if no party in interest files a response or

objection within twenty-one (21) days from the date of service of this notice. If you object to

the relief requested in the Motion, you must timely file your objection with the Bankruptcy

Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W.,

Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree

Road, NW, Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection

deadline. The response or objection must explain your position and be actually received by the

Bankruptcy Clerk within the required time.


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    Debtor has paid $16,000 to the Trustee.
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        A hearing on the Motion has been scheduled for June 23, 2022. The Court will hold an

initial telephonic hearing for announcements on the Motion at the following number: toll-free

number: 833-568-8864; meeting ID 161 794 3084, at 10:00 a.m. in Courtroom 1401, United

States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia.

       Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as

determined by the Court in connection with this initial telephonic hearing. Please review the

“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and

Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information.

       If an objection or response is timely filed and served, the hearing will proceed as

scheduled. If you do not file a response or objection within the time permitted, the Court

may grant the relief requested without further notice or hearing provided that an order

approving the relief requested is entered at least one business day prior to the scheduled hearing.

If no objection is timely filed, but no order is entered granting the relief requested at least one

business day prior to the hearing, the hearing will be held at the time and place as scheduled.

       Your rights may be affected. You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. If you do not have an

attorney, you may wish to consult one.

       Dated: May 20, 2022.
                                                      /s/ S. Gregory Hays
Hays Financial Consulting, LLC                       S. Gregory Hays
2964 Peachtree Road, NW, Ste 555                     Chapter 7 Trustee
Atlanta, GA 30305
(404) 926-0060
